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                        IN THE UNITED STATES DISTRICT COURT

                         FOR THE EASTERN DISTRICT OF TEXAS

                                       TYLER DIVISION

UNITED STATES OF AMERICA                        §

Vs.                                             §                          CASE NO. 6:12CR27

FRANCISCO YURIEL NAVA, aka “Pastel”             §



                           REPORT AND RECOMMENDATION
                        OF UNITED STATES MAGISTRATE JUDGE


       This Report and Recommendation is submitted to the Court pursuant to 28 U.S.C. §

636(b)(3). This case has been referred by the Honorable Leonard Davis to the undersigned

Magistrate Judge for the taking of a felony guilty plea. The parties have consented to the

administration of guilty plea and Fed.R.Crim.P. 11 allocution by a United States Magistrate Judge.

       On October 2, 2012, Defendant and counsel appeared before the undersigned, who addressed

Defendant personally in open court and informed Defendant of, and determined that Defendant

understood, the admonishments under Rule 11 of the Federal Rules of Criminal Procedure. Pursuant

to a plea bargain agreement with the Government, Defendant pled guilty to Count 1 of the

Indictment. After conducting the proceeding in the form and manner prescribed by Fed.R.Crim.P.

11, the undersigned finds:

       1.      Defendant, with the advice of his attorney, has consented orally and in writing to
               enter his guilty plea before a Magistrate Judge subject to final approval and
               sentencing by the presiding District Judge;

       2.      Defendant fully understands the nature of the charges and penalties;


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       3.      Defendant fully understands the terms of the plea agreement;

       4.      Defendant understands his constitutional and statutory rights and wishes to waive
               these rights, including the right to a trial by jury and the right to appear before a
               United States District Judge to enter this plea of guilty;

       5.      Defendant’s plea is made freely and voluntarily;

       6.      Defendant is competent to enter this plea of guilty;

       7.      There is a factual basis for this plea; and

       8.      The ends of justice will be served by acceptance of Defendant’s plea of guilty.


                                         Recommendation

       It is therefore RECOMMENDED that the District Judge accept the plea of guilty and enter

a final judgment of guilty against Defendant. It is further RECOMMENDED that the plea

agreement be approved conditioned upon a review of the presentence report.

       A party’s failure to file written objections to the findings, conclusions and recommendations

contained in this Report and Recommendation within fourteen days after being served with a copy

thereof shall bar that party from de novo review by the district judge of those findings, conclusions

and recommendations and, except on grounds of plain error, from appellate review of unobjected-to

factual findings and legal conclusions accepted and adopted by the district judge. Douglass v. United

States Auto Ass’n., 79 F.3d 1415, 1430 (5th Cir. 1996) (en banc).

            So ORDERED and SIGNED this 2            day of October, 2012.



                                                             ____________________________
                                                             JUDITH K. GUTHRIE
                                                             UNITED STATES MAGISTRATE JUDGE



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